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                         IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO

VELTEX BUILDING CONDOMINIUMS
OWNERS’ ASSOCIATION, INC.
                                                       Case No. 1:17-CV-500
                     Plaintiff,
vs.
                                                     NOTICE OF REMOVAL AND
DOW ROOFING SYSTEMS, LLC, a Delaware                 REMOVAL ACTION UNDER 28 U.S.C.
limited liability company,                           § 1441(B) (DIVERSITY) OF
                                                     DEFENDANT DOW ROOFING
                    Defendant.                       SYSTEMS LLC



TO THE CLERK OF THE COURT:

       Defendant Dow Roofing Systems LLC submits this Notice of Removal of Veltex

Building Condominiums Owners’ Association, Inc. v. Dow Roofing Systems LLC, filed in the

District Court of the Fourth Judicial District of the State of Idaho, in and for the County of Ada,

Case No. CV-17-15955 on the grounds that diversity of citizenship exists between Plaintiff and

Defendant, and the amount in controversy exceeds $75,000.

NOTICE OF REMOVAL AND REMOVAL ACTION UNDER 28 U.S.C. § 1441(B) (DIVERSITY) OF
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       1.      Ada County, Idaho is located within the District of Idaho. Thus, venue is proper

pursuant to 28 U.S.C. § 92 because it is the “district and division embracing the place where such

action is pending.” 28 U.S.C. § 1441(a).

       2.      On August 25, 2017, Plaintiff filed its Complaint (“Complaint”) in state court.

(See Complaint, attached as Exhibit A to the Declaration of Keely E. Duke In Support of Notice

of Removal and Removal Action Under 28 U.S.C. § 1441(B) (Diversity) by Defendant Dow

Roofing Systems, LLC (“Duke Decl.”).) On November 6, 2017, Defendant Dow was served

with a Summons and a copy of the Complaint. (Id., Exhibit B). The state court repository

register of actions reflects that, other than the Complaint and Summons, the only other “process,

pleadings, and orders” served in the action was a motion for out-of-state service, declaration in

support of the motion for out-of-state service, order granting the motion, and notice of

appearance which are submitted herewith. (Id., Exhibits D-G.)

       3.      Plaintiff’s Complaint alleges causes of action against Defendant Dow for breach

of express warranty, breach of warranty for fitness for a particular purpose, breach of the implied

covenant of good faith and fair dealing, and violations of the Idaho Consumer Protection Act

regarding alleged leaks in the roof of a building. (Duke Decl., Exh. A.)

       4.      With respect to the amount in controversy, Plaintiff contends it is entitled to

recover in the range of at least $125,000 exclusive of interest and costs. (Duke Decl. ¶ 9.)

Accordingly, the amount in dispute is in excess of the jurisdictional diversity requirement of

$75,000.

       5.      With respect to diversity of citizenship, Plaintiff Veltex Building Condominiums

Owners’ Association, Inc. is alleged to be an Idaho corporation.      (Duke Decl., Exh. A, ¶ 1.)




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Defendant Dow is alleged to be a Delaware limited liability company and is headquartered in

Michigan. (Duke Decl. ¶ 6.) Thus, as alleged by Plaintiff, complete diversity exists.

       6.      Removal is timely under 28 U.S.C. §1446(b) as it is filed within thirty (30) days

after receipt of the Complaint on November 6, 2017. (Duke Decl., Exh. B.).

       7.      Copies of the entire state court record and the state court docket have been

provided with this Notice of Removal. (Duke Decl., Exh. A-G.)

       8.      Concurrent with the filing of this Notice of Removal, written notice of the filing

of this Notice is being delivered to Plaintiff’s counsel and is being filed with the Clerk of Court

of the District Court of the Fourth Judicial District of the State of Idaho, in and for the County of

Ada, a copy of which is attached hereto (without attachment) as Exhibit A.

       9.      By removing this action to this Court, Defendant Dow does not waive any

defenses, objections or motions available to it under state or federal law. Defendant Dow

expressly reserves the right to move for dismissal of Plaintiff’s claims pursuant to Rule 12 of the

Federal Rules of Civil Procedure and to enforce the mandatory arbitration provision of the

warranty at issue.

       DATED this 6th day of December, 2017.

                                              DUKE SCANLAN & HALL, PLLC


                                              By /s/ Keely E. Duke
                                                 Keely E. Duke – Of the Firm
                                                 Aubrey D. Lyon – Of the Firm
                                                 Attorneys for Defendant Dow Roofing Systems
                                                 LLC




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 6th day of December, 2017, I electronically filed the
foregoing with the U.S. District Court. Notice will automatically be electronically mailed or
served via email to the following individuals who are registered with the U.S. District Court
CM/ECF System:


 Kim Trout                                        ktrout@trout-law.com
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 Boise, ID 83703
 Telephone (208) 577-5755
 Attorneys for Plaintiff



                                           /s/ Keely E. Duke
                                           Keely E. Duke
                                           Aubrey D. Lyon




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